            Case 6:20-bk-04126-KSJ             Doc 127      Filed 09/01/20       Page 1 of 35



                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                                          www.flmb.uscourts.gov

In re:

GLOBAL ASSET RENTAL, LLC                                           Case No. 6:20-bk-04126-KSJ
f/k/a GLOBAL KEG RENTAL, LLC,
                                                                   Chapter 11
                         Debtor.
                                                  /

                         BLEFA GMBH AND BLEFA KEGS, INC.’S
              (I) MOTION FOR RELIEF FROM THE AUTOMATIC STAY TO
                  TAKE IMMEDIATE POSSESSION OF CERTAIN ASSETS
                  AND (II) REQUEST FOR EXPEDITED CONSIDERATION

         Blefa GmbH and Blefa Kegs, Inc. (collectively, “Blefa”), through their undersigned

counsel, file this emergency motion for relief from the automatic stay (the “Motion”), pursuant to

section 362(d) of title 11 of the United States Code (the “Bankruptcy Code”) rule 4001 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules), and rules 4001-1 and 9013-1 of

the Local Rules of the United States Bankruptcy Court for the Middle District of Florida, to

permit Blefa to take possession of certain assets to which Blefa is the legal owner, which are

currently being held by Global Asset Rental, LLC (the “Debtor”) or parties under their control.

In support of this Motion, Blefa respectfully states the following:

                                   PRELIMINARY STATEMENT

         Between March 2017 and August 2019, Blefa and the Debtor entered into a series of

agreements (the “Agreements”),1 pursuant to which Blefa sold approximately 370,000 kegs to

the Debtor for use in the Debtor’s pooling operations. As a condition to providing the kegs, the


1
  The specific dates of each of the keg orders are as follows: March 31, 2017, June 22, 2017, August 14, 2017,
October 16, 2017, November 8, 2017, January 30, 2018, February 28, 2018, March 7, 2018, March 9, 2018, April
24, 2018, April 25, 2018, May 4, 2018, May 14, 2018, May 29, 2018, August 29, 2018, September 3, 2018,
September 24, 2018, October 5, 2018, October 16, 2018, October 17, 2018, October 23, 2018, October 29, 2018,
November 26, 2018, December 11, 2018, March 26, 2019, March 27, 2019, June 13, 2019, June 18, 2019, June 26,

                                                      -1-
             Case 6:20-bk-04126-KSJ              Doc 127        Filed 09/01/20        Page 2 of 35



parties agreed to a choice-of-law provision that states that German law applies to all matters

arising under the Agreements. Additionally, pursuant to the Agreements, it is indisputable that

the parties agreed that title to the kegs would remain with Blefa until such time as each keg is

paid in full. Under German law, governing sales of personalty, the retention of title is authorized

until all payments are timely made. Upon information and belief, White Oak Global Advisors,

LLC (“White Oak”), the Debtor’s secured lender with liens encumbering substantially all of the

Debtor’s assets, was made aware of the foregoing terms and conditions of the Agreements.

More importantly, White Oak did not raise any objection thereto. In the event White Oak was

not in fact aware of the foregoing terms and conditions, the Debtor seriously misled White Oak

insofar as Blefa was not required under German law, nor was it going to, file financing

statements reflecting its interest in the kegs it sold to the Debtor.

        As of the date hereof, there are approximately 113,000 kegs (the “Kegs”) in various

locations around the world that are still titled to Blefa but, are in the Debtor’s possession or being

held at the direction of the Debtor. Accordingly, pursuant to the Agreements and applicable

German law, the Kegs remain Blefa’s property. Accordingly, Blefa retains the authority to

recover the Kegs from the Debtor. In of an abundance of caution, however, Blefa seeks relief

from the automatic stay from this Court to recover the Kegs.

        As set forth herein, cause exists for this Court to grant Blefa relief from the automatic

stay pursuant to section 362(d)(1) of the Bankruptcy Code. Blefa has retained title to the Kegs

and its interests therein as the owner of the Kegs under German law are not adequately protected.

Blefa’s Kegs are currently stored in warehouses at the direction of the Debtor or are being used

by the Debtor in its global operations. As of the date of this Motion, Blefa is aware of the

location of the majority of its Kegs. That may change since the Kegs remain in the Debtor’s


2019, July 12, 2019, July 18, 2019, and August 14, 2019 (collectively, the “Order Dates”).

                                                        -2-
                Case 6:20-bk-04126-KSJ             Doc 127       Filed 09/01/20        Page 3 of 35



possession. Blefa is concerned that the Debtor may transport the Kegs throughout the world,

which will inevitably result in the diminishment of the Kegs’ value through wear and tear, loss,

or damage. Even more troubling is the fact that Blefa does not know where in the world the

Debtor may transport its Kegs. Moreover, cause exists for this Court to grant Blefa relief from

the automatic stay pursuant to section 362(d)(2) of the Bankruptcy Code insofar as Blefa has no

equity in the Kegs.

                                                 BACKGROUND

A.         The Debtor

           1.       The Debtor considers itself one of the largest keg rental companies in the world as

it provides kegs to customers in over thirty (30) countries, across five (5) continents.              The

Debtor was founded in 2013 to facilitate the global shipment of stainless steel beer kegs with on-

demand rental, and to track and trace its kegs with special data technology, designed to reduce

the loss or theft of the kegs. When not in use, the kegs are stored in warehouses in various

locations around the world.           At any given time, however, the kegs may be shipped to various

locations around the world pursuant to contracts with the Debtor’s vendors.

B.         Relationship Between the Parties

           2.       Pursuant to the respective order confirmations (each an “Order Confirmation”),2

on each of the Order Dates, the Debtor agreed to Blefa’s General Terms and Conditions of Sale

(the “Terms and Conditions”),3 which contain the following choice-of-law provision:

                    XIV. Applicable law, place of performance and jurisdiction

                    40. The laws of the Federal Republic of Germany shall apply with
                    the exclusion of the UN Convention of contracts for the
                    International Sale of Goods (CISG).

                    41. The place of performance for all claims arising out of contracts
2
    A true and correct copy of a sample Order Confirmation is attached hereto as Exhibit A.
3
    A true and correct copy of the Terms and Conditions are attached hereto as Exhibit B.

                                                         -3-
             Case 6:20-bk-04126-KSJ         Doc 127     Filed 09/01/20      Page 4 of 35



                concluded with BLEFA shall be the registered office of BLEFA.
                Exclusive jurisdiction over all disputes arising directly or indirectly
                out of or in relation to the business relationship shall be at Siegen,
                Germany. BLEFA shall however be entitled to initiate action
                before any other competent court.

        3.      The Terms and Conditions also include the following provision, which retains

title to the kegs with Blefa (the “Reservation of Title”) until such time as the kegs are paid in

full.

                IV. Reservation of title

                8. The goods delivered shall remain the property of BLEFA until
                compliance in full with all claims under the business relationship
                with the Customer. No pledges or assignments as security by the
                Customer are permitted and the Customer shall inform BLEFA
                promptly in writing in the event of any third party intervention
                with respect to the goods. The Customer shall be obliged to treat
                BLEFA's reserved goods with care, to insure them sufficiently
                against damage or destruction, to mark them as the property of
                BLEFA and to store them separately so as to enable them to be
                separated at any time. The Customer hereby assigns to BLEFA any
                claims vested in it against insurers following an occurrence of loss
                or damage, insofar as they relate to the property of BLEFA. The
                Customer shall be entitled to sell the goods in the ordinary course
                of business in the event that payment has been made in full to
                BLEFA or if it has expressly informed the buyer of the goods in
                writing of the fact that BLEFA has retained title over the goods in
                question. The Customer hereby assigns to BLEFA in full as
                collateral the claims relating to the goods that arise out of the
                resale or on any other legal basis (insurance, tort, accession to a
                land). If insolvency proceedings are brought against the Customer,
                it shall not be entitled to sell on or to surrender possession of the
                goods that are still owned by BLEFA until it has settled in full all
                amounts owed by it to BLEFA. In the event of a breach of
                contract, including in particular payment default notwithstanding a
                reminder, if so requested by BLEFA the Customer shall be obliged
                to return the goods DDP (Incoterms 2010) to the facility of
                BLEFA (including unloading at the risk and cost of the Customer).

                9. In the event that the law of the country in which the goods are
                located does not permit the retention of title provided for or only
                permits it in limited form, BLEFA may secure other rights over the
                goods. The Customer shall be obliged to cooperate in all necessary
                action (e.g. registration) in order to give effect to the retention of

                                                 -4-
                Case 6:20-bk-04126-KSJ              Doc 127       Filed 09/01/20   Page 5 of 35



                    title or the rights established in place thereof and in order to protect
                    these rights.

           4.       Moreover, Blefa, upon delivering its kegs to the Debtor, provided the Debtor with

corresponding invoices (each an “Invoice”)4 for the kegs. Each Invoice expressly states, “[w]e

are invoicing according to our General Terms and Conditions of Sale.” The Invoice further

provides the Debtor with a link to the Terms and Conditions.

           5.       In addition to requiring its customers to consent to the Terms and Conditions

upon the sale of its kegs, Blefa reiterates to its clients that all past, current, and future sales of its

kegs are governed by the Terms and Conditions, particularity when additional kegs are

purchased.

           6.       In December 2018, the Debtor defaulted on its obligations to Blefa. At that time,

the Debtor owed Blefa approximately $5 million. Blefa and the Debtor immediately began

negotiating a settlement regarding the outstanding obligations. Blefa and the Debtor eventually

negotiated a payment plan and a return of certain of Blefa’s kegs as partial payment of the

indebtedness. Additionally, Blefa required the Debtor to reaffirm the Terms and Conditions.

Accordingly, on January 14, 2019, Blefa sent a letter to the Debtor reaffirming the Terms and

Conditions. Following subsequent e-mail correspondence between the parties, on February 26,

2019, the Debtor reaffirmed that the Terms and Conditions apply to “both past and new

purchases of kegs by [the Debtor].” The Debtor further confirmed the acknowledgement stating,

“[c]onfirmed on all counts.”

           7.       Upon information and belief, White Oak knew or should have known of the

choice-of-law provision and Reservation of Title, neither of which were objected to by White

Oak. Similarly, White Oak should also have been aware of the prohibition imposed by Blefa


4
    A true and correct copy of a sample Invoice is attached hereto as Exhibit C.

                                                          -5-
              Case 6:20-bk-04126-KSJ        Doc 127      Filed 09/01/20         Page 6 of 35



upon the Debtor’s ability to encumber or pledge the kegs as collateral to a third-party.

        8.       In total, Blefa provided approximately 370,000 kegs to the Debtor. The Debtor

subsequently paid for approximately 250,000 kegs. Title to those kegs was transferred to the

Debtor. As of the date of this Motion, however, the title to the remaining 113,000 Kegs remains

with Blefa.

        9.       Upon information and belief, 105,000 of the Kegs are being stored by the Debtor

in various warehouses throughout Europe and the remaining 8,000 Kegs are being storedin its

warehouses in the Debtor’s warehouses in the United States.

C.      The Bankruptcy Case

        10.      Pursuant to the Declaration of Soneet R. Kapila, Chief Restructuring Officer, in

Support of Debtor’s Petition and First Day Pleadings [Docket No. 34] (the “First Day

Declaration”), the Debtor has suffered tremendously as a result of the Coronavirus’ impact on

the beverage industry.

        11.      Consequently, on July 29, 2020 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (the “Bankruptcy Case”). The

Debtor continues to operate and manage its business as a debtor-in-possession.

        12.      On the Petition Date, the Debtor filed its Emergency Motion for Order (A)

Authorizing the Debtor (1) to Use Cash Collateral on an Interim Basis Pursuant to 11 U.S.C. §

363, and (2) to Grant Adequate Protection and Provide Security and Other Relief in Connection

Therewith Pursuant to 11 U.S.C. § 361, and (B) Setting a Final Hearing Pursuant to Bankruptcy

Rule 4001 [Docket No. 32] (the “Cash Collateral Motion”). Pursuant to the Cash Collateral

Motion, White Oak asserts that it is owed approximately $59 million by the Debtor, which is

secured by a first priority lien on substantially all of the Debtor’s assets.

        13.      On August 19, 2020, the Debtor filed its Emergency Motion for the Entry of an

                                                  -6-
             Case 6:20-bk-04126-KSJ        Doc 127     Filed 09/01/20      Page 7 of 35



Order (1) Approving Competitive Bidding Procedures for the Sale of Substantially All of

Debtor’s Assets, (2) Scheduling Dates to Conduct Auction and Sale Hearing, (3) Approving the

Form and Manner of Notices, (4) Approving the Sale of Substantially All of the Debtor’s Assets

Free and Clear of All Liens, Claims, Encumbrances and Interests, (5) Approving Assumption

and Assignment Procedures, and (6) Granting Related Relief [Docket No. 93] (the “Bid

Procedures Motion”). Through the Bid Procedures Motion, the Debtor is pursuing a sale of

substantially all of its assets (the “Sale”) on a severely expedited timeframe. Specifically, the

CRO is conducting a fast tracked marketing and sale process with a bid deadline of September

16, 2020 (the “Bid Deadline”). The Subsequently, the Debtor will hold on auction on September

18, 2020, followed by a hearing to approve the Sale on September 21, 2020. Accordingly, there

is an urgent need to adjudicate this Motion in advance of the Bid Deadline so that any

prospective purchaser has a clear picture of what assets are a part of the Sale.

                                     RELIEF REQUESTED

       14.      By this Motion, Blefa respectfully requests that this Court: (i) enter an order

granting Blefa relief from the automatic stay, pursuant to section 362(d) of the Bankruptcy Code,

to permit Blefa to take immediate possession of its Kegs; (ii) waive the 14-day stay on the relief

requested herein pursuant to Bankruptcy Rule 4001(a)(3); (iii) adjudicate the merits of this

Motion on an expedited basis; and (iv) grant such other and further relief as the Court deems just

and proper.

                                      BASIS FOR RELIEF

       15.      As an initial matter, Blefa does not believe that the automatic stay extends to the

Kegs because, pursuant to Terms and Conditions and applicable German law, the Kegs are not

property of the Debtor’s estate as defined by section 541 of the Bankruptcy Code. However, out

of an abundance of caution, Blefa is bringing this Motion before the Court to further authorize

                                                -7-
             Case 6:20-bk-04126-KSJ         Doc 127     Filed 09/01/20      Page 8 of 35



Blefa’s right to take possession of its Kegs. Blefa is entitled to stay relief both “for cause”

pursuant to section 362(d)(1) of the Bankruptcy Code and because the Debtor “does not have an

equity” in the Kegs pursuant to section 362(d)(2) of the Bankruptcy Code. 11 U.S.C. §§

362(d)(1)-(2).

A.     The Automatic Stay is not Applicable Because the Kegs Are Not
       Property of the Estate

       16.       Section 362 effectuates a stay of action by certain parties against “property of the

estate.” See, e.g., 11 U.S.C. § 362(a)(3) (staying “any act to obtain possession of property of the

estate or of property from the estate or to exercise control over property of the estate”) (emphasis

added). By definition, the automatic stay only protects property of the estate.

       17.       Courts have found that, “[a]lthough the definition of ‘property of the estate’ is

indeed broad, it is not unlimited in scope. For example, it is axiomatic that a bankruptcy estate

acquires no greater ownership rights over property than the Debtor would have acquired prior to

the bankruptcy filing.” See In re C&C Excavating, Inc., 288 B.R. 251, 257 (Bankr. N.D. Ala.

2002); In re Berris, 458 B.R. 601, 610 (Bankr. S.D. Fla. 2011). “Legislative history clearly

denotes the broad scope of the estate, but also indicates that it was not meant to extend the

debtor’s rights beyond those in effect as of the date of filing.” In re Health Care Products, Inc.,

159 B.R. 332, 337 (Bankr. M.D. Fla. 1993); see also, U.S. v. Whiting Pools, Inc., 462 U.S. 198,

204-205 n.8 (1983) (stating that “[t]he legislative history [of section 541 of the Bankruptcy

Code] indicates that Congress intended to exclude from the estate, property of others in which

the debtor had some minor interest such as a lien or bare legal title”).

       18.       Additionally, to determine the extent of a debtor’s interest in property, courts look

to applicable non-bankruptcy law. See In re Dreier LLP, 429 B.R. 112, 125 (Bankr. S.D.N.Y.

2010). In Florida, courts “overwhelmingly favor upholding choice-of-law provisions . . . .”



                                                 -8-
             Case 6:20-bk-04126-KSJ        Doc 127     Filed 09/01/20      Page 9 of 35



Chemische Fabrik Budenheim KG v. Bavaria Corporation International, 2009 WL 10670379, at

*2 (M.D. Fla. July 8, 2009).

       19.      Before the Petition Date, pursuant to the Reservation of Title, the Kegs were the

property of Blefa. The Debtor specifically agreed that it would treat Blefa’s Kegs “with care, to

insure them sufficiently against damage or destruction, to mark them as the property of BLEFA

and to store them separately so as to enable them to be separated at any time.” See Terms and

Conditions, ¶ 8. Accordingly, prior to Petition Date, the Debtor clearly conceded all legal and

equitable title to the Kegs to Blefa. Post-petition, the Debtor cannot now assert a superior

interest in the Kegs that it did not possess before the Bankruptcy Case.

       20.      Moreover, under the choice-of-law provision in the Terms and Conditions, it is

indisputable that any interest the Debtor may have in and to the Kegs must be examined under

German law. Under German civil law, the seller of goods can condition the transfer of property

in such a way that the property is only transferred to the customer upon full payment of the

purchase price (retention of title). The goods subject to the Terms and Conditions governing the

Agreements, however, do not become property of the customer until the purchase price is paid in

full. Since the remaining 113,000 Kegs have not been paid for, the Debtor does not title to the

Kegs. Therefore, Blefa maintains that the automatic stay should not prevent it from seeking the

immediate possession of its Kegs.

B.     If the Automatic Stay Applies, Blefa is Entitled to Relief

       21.      To the extent the automatic stay applies to the Kegs, Blefa is nevertheless entitled

to relief therefrom pursuant to sections 362(d)(1)-(2) of the Bankruptcy Code. The stay should

be lifted both “for cause” pursuant to section 362(d)(1) of the Bankruptcy Code and because the

Debtor “does not have an equity” in the Kegs pursuant to section 362(d)(2) of the Bankruptcy

Code. 11 U.S.C. §§ 362(d)(1)-(2).

                                                -9-
             Case 6:20-bk-04126-KSJ       Doc 127        Filed 09/01/20   Page 10 of 35



       22.      As detailed above, the Debtor has no cognizable right, interest, or equity in the

Kegs pursuant to the Agreements and applicable German law. Section 362(d) clearly articulates

these two independent grounds for modification of the automatic stay.

       On request of a party in interest and after notice and a hearing, the court shall grant relief
       from the stay provided under subsection (a) of this section, such as by terminating,
       annulling, modifying, or conditioning such stay--

                (1) for cause, including the lack of adequate protection of an interest in property
                of such party in interest; [or]

                (2) with respect to a stay of an act against property under subsection (a) of this
                section, if–

                       (A) the debtor does not have an equity in such property; and

                       (B) such property is not necessary to an effective reorganization ... .

11 U.S.C. § 362(d).

       i.       Cause Exists to Grant Relief from the Automatic Stay

       23.      A party seeking relief under section 362(d)(1) of the Bankruptcy Code must show

that “cause” exists to modify the automatic stay. 11 U.S.C. § 362(d)(1). “Because there is no

clear definition of what constitutes ‘cause,’ discretionary relief from the stay must be determined

on a case by case basis.” In re MacDonald, 755 F.2d 715, 717 (9th Cir. 1985); In re Bryan

Road, LLC, 382 B.R. 844, 854 (Bankr. S.D. Fla. 2008); In re Murray Industries, 121 B.R. 635,

636 (Bankr. M.D. Fla. 1990). Once a movant makes a prima facie case that cause exists to lift

the stay, the burden shifts to the debtor to show that cause does not exist. In re Gould, 401 B.R.

415, 426 (B.A.P. 9th Cir. 2009); In re Ellis, 60 B.R. 432, 435 (B.A.P. 9th Cir. 1985). If the

debtor cannot meet its burden, the secured creditor must be granted relief from the automatic

stay. Id. at 435. Here, cause exists to grant relief from the automatic stay pursuant to section

362(a)(1) of the Bankruptcy Code because Blefa’s interest in the Kegs is not adequately

protected.


                                                - 10 -
          Case 6:20-bk-04126-KSJ          Doc 127       Filed 09/01/20   Page 11 of 35



       24.     The Bankruptcy Code does not define “adequate protection,” but Bankruptcy

Code section 361 provides a non-exclusive list of examples, including:

                   a. requiring cash payments to the secured creditor to the extent the
                      continuation of the stay results in a decrease in the value of the collateral;

                   b. providing the secured creditor with an additional or replacement lien on
                      property to the extent that the continuation of the stay results in a decrease
                      in value of the collateral; or

                   c. granting such relief to the secured creditor as will result in the creditor’s
                      realization of the “indubitable equivalent” of its interest in the collateral.

11 U.S.C. § 361(1)-(3); United Sav. Ass'n. v. Timbers of Inwood Forest Assocs., 484 U.S. 365,

370 (1988); In re Shockley Forest Industries, Inc., 5 B.R. 160, 161 (Bankr. N.D. Ga. 1980).

Adequate protection does not exist when factors, such as instability of the value of the collateral,

indicate that the creditor’s interest in property is not being protected. See In re Colrud, 45 B.R.

169, 178-79 (Bankr. D. Alaska 1989). If a debtor has neither adequately protected property, nor

presented any persuasive evidence that it can do so, relief from the automatic stay for cause is

warranted. See, e.g., In re NMP Concord II, LLC, No. 10-43080, 2010 WL 3488249, at *4

(Bankr. N.D. Cal. Sept. 1, 2010); In re Dumbaya, 428 B.R. 410, 416 (Bankr. N.D. Ohio 2009);

In re Epiq Capital Corp., 290 B.R. 514, 526 (Bankr. D. Del. 2003); In re Wrecclesham Grange,

Inc., 221 B.R. 978, 982 (Bankr. M.D. Fla. 1997).

       25.     Blefa’s interest in the Kegs is not adequately protected. The Debtor currently has

unfettered access to the Kegs and, at any given time, may put the Kegs into use in its operations.

By doing so, the Kegs are at risk of damage and/or loss, which will severely diminish their

respective value. Moreover, once the Kegs are distributed to the Debtor’s vendors, Blefa will be

faced with increasing difficulty in its attempts to locate and take possession of the Kegs.

       26.     Furthermore, in the absence of DIP financing coupled with the reduced demand

for kegs caused by the Coronavirus, the Debtor cannot afford to provide Blefa with adequate

                                               - 11 -
             Case 6:20-bk-04126-KSJ        Doc 127       Filed 09/01/20   Page 12 of 35



protection of its interests going forward by providing Blefa with the “indubitable equivalent” of

its interest. Bankruptcy Code section 361(3) is a “catch-all alternative” for adequate protection.

In re Pac. Lifestyle Homes, Inc., 2009 WL 688908, at *8 (Bankr. W.D. Wash. Mar. 16, 2009).

“Indubitable” means “too evident to be doubted.” In re Arnold & Baker Farms, 85 F.3d 1415,

1421 (9th Cir. 1996). To the extent a debtor seeks to alter the collateral securing a creditor’s

loan, providing the indubitable equivalent requires that the substitute collateral not increase the

creditor’s risk exposure and be “completely compensatory.” Pac. Lifestyle Homes, 2009 WL

688908, at *9.

       27.       Given the impact of COVID-19 on the alcoholic beverage industry, as well as the

expedited Sale process, it is highly probable that the Sale will not feature a robust bidding

process among strategic or financial bidders familiar with this specialized industry. Moreover,

White Oak’s ability to credit bid the full amount of its secured claim means that the Debtor

stands little chance of being able to offer value to Blefa which will provide complete

compensation for either the balance of the purchase price owed for the Kegs, or the diminution in

value of the Kegs so as not to expose Blefa to additional risk. Therefore, the Debtor is unable to

provide Blefa with the indubitable equivalent of its interest as required by section 361(3) of the

Bankruptcy Code.

       28.       For these reasons, Blefa contends that sufficient cause exists to grant relief from

the automatic stay pursuant to section 362(d)(1) of the Bankruptcy Code.

       ii.       Relief from the Automatic Stay is Justified Because the Debtor Has No
                 Equity in the Kegs

       29.       A party seeking relief under section 362(d)(2) must show that the debtor has no

equity in the property and that the property is not necessary to an effective reorganization. 11

U.S.C. § 362(d)(2). Courts have clarified that “[e]quity ... is the value, above all secured claims



                                                - 12 -
          Case 6:20-bk-04126-KSJ          Doc 127         Filed 09/01/20   Page 13 of 35



against the property, that can be realized from the sale of the property for the benefit of the

unsecured creditors.”    In re McCombs, No. 11-01293-MAM-11, 2011 WL 6762930, at *6

(Bankr. S.D. Ala. Dec. 21, 2011) (citing Matter of Holly's, Inc., 140 B.R. 643, 697-98 (Bankr.

W.D. Mich.1992)). The Debtor cannot dispute the fact that it has no equity in the Kegs because,

as previously explained, the Debtor has no cognizable interest in the Kegs. Blefa is the owner of

the Kegs and is entitled to the full value of the Kegs.

       30.     In considering whether property is necessary to a debtor’s reorganization, courts

evaluate whether: (i) the property is needed in the debtor’s reorganization; and (ii) there is “a

reasonable possibility of a successful reorganization within a reasonable period of time.” In re

Mullock, 404 B.R. 800, 805-06 (Bankr. E.D. Pa. 2009) (citing Timbers of Inwood Forest Assocs.,

484 U.S. at 376). In the instant case, the Debtor intends to liquidate the enterprise through a sale

of substantially all of its assets. In the event Blefa takes possession of the Kegs, the Debtor will

still be able to successfully complete the Sale of its remaining assets, which is planned to be

consummated by the end of October 2020. Accordingly, the Kegs are not necessary to the

Debtor’s liquidating reorganization. Blefa should therefore be granted relief from the automatic

stay to take possession of its Kegs.

                            REQUEST FOR EXPEDITED RELIEF

       31.     Blefa respectfully requests that the Court adjudicate the merits of this Motion on

an expedited basis. The nature of the Debtor’s business puts Blefa’s Kegs at risk of damage,

loss, theft, and unfettered travel around the world at any given moment. Therefore, each day that

passes increases the risk to Blefa that it may never see its Kegs again. Additionally, given the

expedited timeframe for the Debtor’s Sale, it is absolutely critical that the Court render its

decision so the CRO knows whether he can sell the 113,000 Kegs.




                                                - 13 -
          Case 6:20-bk-04126-KSJ         Doc 127        Filed 09/01/20   Page 14 of 35



                                        CONCLUSION

       32.     Despite Blefa’s position that the automatic stay is not applicable and therefore

should not preclude Blefa from taking immediate possession of its Kegs, it nonetheless is entitled

to relief from the automatic stay because: (i) cause exists to grant relief from the automatic stay

pursuant to section 362(d)(1) of the Bankruptcy Code as Blefa’s interests are not adequately

protected; and (ii) the Debtor has no equity in the Kegs and the Kegs are not necessary to an

effective reorganization as required by section 362(d)(2) of the Bankruptcy Code.

       33.     In light of the foregoing, Blefa respectfully requests that the Court: (i) enter an

order granting Blefa relief from the automatic stay to take immediate possession of its Kegs; (ii)

waive the 14-day stay imposed by Bankruptcy Rule 4001(a)(3); (iii) adjudicate the merits of this

Motion on an expedited basis; and (iv) grant Blefa such other and further relief as it deems just

and proper.

Dated: September 1, 2020                     McDERMOTT WILL & EMERY LLP


                                             /s/ Craig V. Rasile
                                             Craig V. Rasile (FBN 613691)
                                             Gregg A. Steinman (FBN 124255)
                                             333 SE 2nd Avenue
                                             Suite 4500
                                             Miami, FL 33131-4336
                                             Telephone: (305) 358-3500
                                             Facsimile: (305) 347-6500
                                             Email: crasile@mwe.com
                                                    gsteinman@mwe.com

                                             Timothy W. Walsh, Esq. (admitted pro hac vice)
                                             McDermott Will & Emery LLP
                                             340 Madison Avenue
                                             New York, New York 10173
                                             Telephone: (212) 547-5873
                                             Facsimile: (646) 417-7680
                                             E-mail: twwalsh@mwe.com

                                             Attorneys for Blefa GmbH and Blefa Kegs, Inc.

                                               - 14 -
          Case 6:20-bk-04126-KSJ          Doc 127      Filed 09/01/20     Page 15 of 35




                                 CERTIFICATE OF SERVICE

       THE UNDERSIGNED HEREBY CERTIFIES that a true and correct copy of the

foregoing Blefa GmbH and Blefa Kegs, Inc.’s (I) Motion for Relief from the Automatic Stay to

Take Immediate Possession of Certain Assets and (II) Request for Expedited Consideration was

served on all counsel of record and all interested parties identified on the attached Service List on

September 1, 2020 via transmission of Notices of Electronic Filing generated by CM/ECF; and

on September 2, 2020 via First Class U.S. Mail, postage prepaid, as indicated thereon.


                                                   By: /s/ Craig V. Rasile
                                                           Craig V. Rasile (FBN 613691)
          Case 6:20-bk-04126-KSJ         Doc 127     Filed 09/01/20   Page 16 of 35




                                       SERVICE LIST

Served Via CM/ECF Notification

Audrey M Aleskovsky on behalf of U.S. Trustee United States Trustee - ORL
Audrey.M.Aleskovsky@usdoj.gov

Paul J Battista on behalf of Debtor Global Asset Rental, LLC
pbattista@gjb-law.com; gjbecf@gjb-law.com; gjbecf@ecfcourtdrive.com; chopkins@gjb-
law.com; vlambdin@gjb-law.com; jzamora@gjb-law.com

Giacomo Bossa on behalf of Creditor MM STEEL S.R.L.
service@anmpa.com

Bryan E Buenaventura on behalf of U.S. Trustee United States Trustee - ORL
bryan.buenaventura@usdoj.gov

David G Dragich on behalf of Creditor NDL Keg Inc.
ddragich@dragichlaw.com

David G Dragich on behalf of Creditor NDL Keg Qingdao Inc.
ddragich@dragichlaw.com

David G Dragich on behalf of Creditor NDL Keg, LLC
ddragich@dragichlaw.com

Lara Roeske Fernandez on behalf of Creditor NDL Keg Inc.
lrfernandez@trenam.com; mmosbach@trenam.com,mwoods@trenam.com,tyatsco@trenam.com

Lara Roeske Fernandez on behalf of Creditor NDL Keg Qingdao Inc.
lrfernandez@trenam.com; mmosbach@trenam.com,mwoods@trenam.com,tyatsco@trenam.com

Lara Roeske Fernandez on behalf of Creditor NDL Keg, LLC
lrfernandez@trenam.com, mmosbach@trenam.com,mwoods@trenam.com,tyatsco@trenam.com

Tiffany Payne Geyer on behalf of Creditor White Oak Global Advisors, LLC
tpaynegeyer@bakerlaw.com
smccoy@bakerlaw.com;orlbankruptcy@bakerlaw.com;egreen@bakerlaw.com;
bakerlaw@ecfcourtdrive.com




                                                2
           Case 6:20-bk-04126-KSJ         Doc 127     Filed 09/01/20       Page 17 of 35



Eric S Golden on behalf of Creditor Truist Bank
egolden@burr.com; jmorgan@burr.com;
ccrumrine@burr.com

Elizabeth A Green on behalf of Creditor White Oak Global Advisors, LLC
egreen@bakerlaw.com
cmartin@bakerlaw.com;orlbankruptcy@bakerlaw.com;bakerlaw@ecf.courtdrive.com

Brian P Hall on behalf of Creditor Schaefer Container Systems of North America, Inc.
bhall@sgrlaw.com

Brian P Hall on behalf of Creditor Schaefer Sudex S.R.O.
bhall@sgrlaw.com

Heather L Harmon on behalf of Debtor Global Asset Rental, LLC
hyonke@gjb-law.com; gjbecf@gjb-law.com;chopkins@gjb-
law.com;gjbecf@ecf.courtdrive.com; jzamora@gjb-law.com

Dimitri G Karcazes on behalf of Creditor White Oak Global Advisors, LLC
dimitri.karcazes@goldbergkohn.com;
RBuck@whiteoaksf.com;TFinnigan@whiteoaksf.com;kristina.bunker@goldbergkohn.com

Prisca A Kim on behalf of Creditor White Oak Global Advisors, LLC
prisca.kim@goldbergkohn.com

Ari Newman on behalf of Interested Party Thielmann Portinox Spain, S.A.
newmanar@gtlaw.com; miaecfbky@gtlaw.com

John E Page on behalf of Creditor Committee Official Committee of Unsecured Creditors
dwoodall@slp.law; dlocascio@slp.law;pmouton@slp.law

Michael S Provenzale on behalf of Creditor City Beverages LLC
michael.provenzale@lowndes-law.com; anne.fisher@lowndes-
law.com;litcontrol@lowndes- law.com

Craig V Rasile on behalf of Creditor Blefa GmbH
crasile@mwe.com; sbugliaro@mwe.com;dnorthrop@mwe.com

Craig V Rasile on behalf of Creditor Blefa Kegs, Inc.
crasile@mwe.com; sbugliaro@mwe.com;dnorthrop@mwe.com

Ivan J Reich on behalf of Creditor J.J. Taylor Distributing Florida, LLC
ireich@nasonyeager.com

Bradley S Shraiberg on behalf of Creditor Committee Official Committee of Unsecured Creditors
                                                  5
           Case 6:20-bk-04126-KSJ        Doc 127     Filed 09/01/20   Page 18 of 35



bss@slp.law; dwoodall@slp.law; dlocascio@slp.law; pmouton@slp.law; jlanphear@slp.law;
dwoodall@ecf.courtdrive.com
United States Trustee – ORL
USTP.Region21.OR.ECR@usdoj.gov

Francisco Vazquez on behalf of Creditor Norton Rose Fulbright US LLP
francisco.vazquez@nortonrosefulbright.com

Amanda C Vintevoghel on behalf of Creditor NDL Keg Inc.
avintevoghel@Dragichlaw.com

Amanda C Vintevoghel on behalf of Creditor NDL Keg Qingdao Inc.
avintevoghel@Dragichlaw.com

Amanda C Vintevoghel on behalf of Creditor NDL Keg, LLC
avintevoghel@Dragichlaw.com

Alice A White on behalf of Creditor Hydra Logistics Services, Inc.
awhite@ofjlaw.com, bmoss@ofjlaw.com

Alice A White on behalf of Creditor Hydra Warehouse, Inc. aka Hydra Warehousing
awhite@ofjlaw.com; bmoss@ofjlaw.com

Thomas G Zeichman on behalf of Creditor Supermonte Group Italy, Inc.
tzeichman@bmulaw.com; rkittl@bmulaw.com



Served via U.S. Mail
To all parties on the attached Rule 1007-2 Service List




                                                5
             Case 6:20-bk-04126-KSJ   Doc 127   Filed 09/01/20      Page 19 of 35



                               GLOBAL ASSET RENTAL, LLC
                                  Case No. 6:20-BK-04126

                                 MASTER SERVICE LIST

Global Asset Rental, LLC                        Ernst & Young
f/k/a Global Key Rental, LLC                    PO Box 933514
PO Box 2568                                     Atlanta, GA 31193
Windermere, FL 34786
                                                Fulmer Logistics
Blefa Kegs, Inc.                                122 Gayoso Ave
182 Jefferson Pike                              Suite 101
LaVergne, TN 37086                              Memphis, TN 38103

Cascade Engineering, Inc.                       HID Global
PO Box 888045                                   Switzerland SA
GrandRapids, MI 49588                           Route de Pra-Charbon 27
                                                1614 Granges
China Major Beer Keg Co                         Veveyse Switzerland
No.626 Jinshan Road
Jiangbei District,                              Katoen Natie ItaliaSRL
Ningbo                                          Via Della Conca, 3
Zheijang, CHINA                                 Cremona, CR
                                                ITALY 26100
Distrilog Group
Koningin Astridlaan                             Maisonneuve Kegs
14 Willebroek                                   59 Rue de la Gare
BELGIUM 2830                                    C rences
                                                FRANCE 50510
DSI Getrankearmaturen
GmbH                                            Myers-Holum
Oerster Kamp 20                                 244 Madison Ave
Hamm GERMANY 59069                              Suite 217
                                                New York, NY 10016
DSV Air and Sea, Inc.
PO Box 200876                                   Pioneer Warehousing & Distribution LLC
Pittsburg, PA 15251                             7640 Edgecomb Dr
                                                Liverpool, NY 13088
Echo Global Logistics
22168 Network Pl                                Plasticos Tecnicos
Chicago, IL 60673                               Mexicanos
                                                5BIS, Paseo Central
Entinox                                         Valle de Oro
Autov a del Ebro                                MEXICO 76803
Zaragoza
SPAIN 50639



[12197‐001/3218682/1]
             Case 6:20-bk-04126-KSJ   Doc 127   Filed 09/01/20    Page 20 of 35



Schaefer Container Systems                      Oracle America, Inc.
5275 Westgate Dr.                               Buchalter, A Professional Corporation
Suite D                                         c/o Shawn M. Christianson
Atlanta, GA 30336                               55 2nd St. 17th Fl.
                                                San Francisco, CA 94105
Schafer-Sudex s.r.o.
Podol 5                                         Don Stecker on behalf of Creditor Bexar
Ledec nad S zavou                               County
Ledec, GERMANY                                  Linebarger Goggan Blair & Sampson LLP
CZ-58401                                        112 East Pecan Street, Suite 2200
                                                San Antonio, TX 78205
Supermonte Group
Italy, Inc.                                     Elizabeth Weller on behalf of Creditor
Via per Carmiano                                Dallas County
Leverano                                        2323 Bryan Street, Suite 1600
LE, ITALY 73045                                 Dallas, TX 75201

Thielmann Portinox                              Florida Department of Revenue
Carretera Pulianas                              Bankruptcy Unit
km 6, Pulianas                                  PO Box 6668
SPAIN 18197                                     Tallahassee, FL 32314-6668

Delaware Division Of Revenue                    Internal Revenue Service
Bankruptcy Services                             Centralized Insolvency Operation
Carvel State Office Building                    PO Box 7346
8th Floor                                       Philadelphia, PA 19101-7346
Wilmington, De 19801
                                                Orange County Tax Collector
Federal Communications Commission               200 S Orange Ave
445 12th St SW                                  Ste 1600
Washington, DC 20554                            Orlando, FL 32801

GFS Logistics, Inc.
c/o Kevin T Monk
3130 N Longhorn Drive
Lancaster, TX 75134

Natalie Hoogeboom
Ten Holter/Noordam
Veerhaven 17, 3016 CJ
Rotterdam, Netherlands,




[12197‐001/3218682/1]
             Case 6:20-bk-04126-KSJ   Doc 127   Filed 09/01/20   Page 21 of 35




United States Trustee
135 W Central Blvd
Unit 620
Orlando, FL 32801

US Attorneys' Office
400 W. Washington St.
Suite 3100
Orlando, FL 32801

City of Orlando
400 S. Orange Ave.
Orlando, FL 32801

Polk County Tax Collector
PO Box 1189
Bartow, FL 33831

City of Windermere
614 Main St.
Windermere, FL 34786




[12197‐001/3218682/1]
Case 6:20-bk-04126-KSJ   Doc 127   Filed 09/01/20   Page 22 of 35



                          Exhibit A

                     Order Confirmation
Case 6:20-bk-04126-KSJ   Doc 127   Filed 09/01/20   Page 23 of 35
Case 6:20-bk-04126-KSJ   Doc 127   Filed 09/01/20   Page 24 of 35
Case 6:20-bk-04126-KSJ   Doc 127   Filed 09/01/20   Page 25 of 35
Case 6:20-bk-04126-KSJ   Doc 127   Filed 09/01/20   Page 26 of 35
Case 6:20-bk-04126-KSJ   Doc 127   Filed 09/01/20   Page 27 of 35
Case 6:20-bk-04126-KSJ   Doc 127   Filed 09/01/20   Page 28 of 35



                          Exhibit B

                    Terms and Conditions
                                 Case 6:20-bk-04126-KSJ                                             Doc 127                     Filed 09/01/20                         Page 29 of 35




General Terms and Conditions of Sale
I. Conclusion of a contract                                                            of back-up disruptions to operations of any type, failure of             30.     In the event that BLEFA is provided and receives personal data
1.      All of our deliveries and services shall be subject exclusively to             telecommunications and IT systems, fire, strikes, lockouts, a                    via Customer or a point of sale for such purpose describe
        the Terms and Conditions set forth below. The applicability of                 lack of means of transport, transport disruptions, governmental                  above, BLEFA is an independent controller under applicable
        any general terms and conditions of the Buyer/Customer is                      acts, breakdown of machinery, export and import prohibitions,                    data protection law.
        expressly excluded, unless BLEFA has expressly consented in                    energy supply difficulties, mobilisation, war, blockades, etc.           31.     BLEFA collects personal data when customer submits it to us,
        writing to its adoption.                                                       including where such events occur for our own suppliers – we                     through registration, completion of forms or e-mails, as part of
2.      A contract shall only be concluded upon written confirmation of                shall be unable to comply with our duties and shall be released                  an order for products or services, after-sale support for products
        the order by us. Any amendments to the GTC or a contract                       from our obligations under the contract for the duration of the                  or services, inquiries or requests about products being ordered
        concluded must be made in writing.                                             impediment. The Customer shall have no entitlement to bring                      and similar situations in which data subject has chosen to
                                                                                       damages claims. In the event that the impediment continues for                   provide the information to BLEFA or via a point of sale to
II. Offer, offer documentation, copyright                                              more than two months, each party shall be entitled to withdraw                   BLEFA.
3.       Our offers are subject to change without notice. Illustrations,               from the Contract in full or in part to the extent that it has not       32.     Some personal data provided (name, address, phone number
         drawings and indications of dimensions, weights and                           been performed.                                                                  and email address) will be processed by BLEFA for marketing,
         specifications within the offers, brochures, price lists and          13.     We shall be entitled to refer to the above-mentioned                             advertising or promoting purposes. We assume that this is of
         catalogues of BLEFA are only intended as approximate figures                  circumstances only if we notify the Customer immediately of the                  mutual interest for our Customer and for the Data Subject to
         and shall in particular not constitute any warranty as to                     start and conclusion of such impediments.                                        upkeep a good business relationship and the respective Data
         characteristics unless expressly designated as binding in                                                                                                      Subject can object to the processing of his/her data for this
         writing.                                                              VI. Cancellation of orders / return shipment                                             purpose at any time without giving reasons by contacting
4.       Drawings/layouts and other confidential documentation                 14.    Aside from the exercise of rights relating to defects, orders may                 BLEFA.
         ("Information") shall remain the property of BLEFA and contain               be cancelled and goods may be returned only with the written              33.     Some of the personal data provided may be stored or processed
         copyright of BLEFA, even if this is not expressly stipulated. Such           approval of BLEFA. BLEFA reserves the right to charge                             in other jurisdictions, such as the United States, whose data
         Information or offers / cost estimates and prices may not be                 appropriate cancellation fees in the amount of the costs incurred                 protection laws may differ from this jurisdiction. In such cases,
         disclosed to third parties without the written consent of BLEFA.             by BLEFA. Return shipment to BLEFA must occur promptly after                      BLEFA ensures that appropriate protections are in place to
         All Information must be returned to BLEFA upon first demand. If              approval, citing the Return Merchandise Authorization number                      require the data processor in that country to maintain
         an order is not placed, this Information must be returned                    provided by BLEFA ("RMA no.").                                                    protections on the personal data that are equivalent to those
         promptly and unsolicited and may not be used.                                                                                                                  that apply in the country of BLEFA.
                                                                               VII. Shipment, packaging and interim storage                                     34.     Customer is obliged to inform any point of sale and its end-users
III. Prices, payment terms                                                     15.     If loading or transportation of goods is delayed due to reasons                  that it complies with applicable data protection law and personal
5.        Unless agreed otherwise, the prices of BLEFA are valid ex                    for which Buyer is responsible, we shall be entitled, at Buyer’s                 data will be processed by BLEFA according to the terms and
          works BLEFA (FCA according to the Incoterms 2010), in                        cost and risk, to store the goods at our reasonable discretion, to               limitation set forth in this Clause. Customer shall, without
          addition to value added tax at the statutory rate, packaging,                take all measures considered appropriate to preserve the                         limitation, defend, hold harmless and indemnify BLEFA in the
          transport, the flat-rate environmental levy and freight insurance.           goods, and to invoice the goods as if delivered. The same shall                  event of damage that is attributable to Customer's transferring of
          Payment shall be made in the currency stated in the invoice                  apply if goods notified as ready for shipment are not called off                 personal data or in breach of applicable data protection law.
          without deduction and such that it may be disposed of by us on               within four days. The foregoing shall be without prejudice to            35.     Our full privacy statement can be found on our website:
          the due date. The Buyer shall not be entitled to offset against a            statutory provisions applicable to late acceptance. We shall                     www.blefa.com.
          claim unless such a claim is undisputed or has been recognised               deliver the goods packaged and protected against rust to the
          by a declaratory judgment having the force of law; rights of                 extent customary in commercial practice; the cost shall be borne         XII. Proof of exportation
          retention may only be vested in it in accordance with the same               by the Buyer, and no packaging or other materials used for               36.     If a Buyer residing outside the Federal Republic of Germany
          contractual relationship.                                                    protection and transportation will be taken back.                                (extra-territorial customer) or its agent collects and transports or
6.        In the event of payment default, interest shall be charged at a                                                                                               ships goods abroad, the Buyer shall provide us with the proof of
          rate of 8 per cent above the basic interest rate in accordance       VIII. Liability for defects                                                              exportation necessary for tax purposes. If such proof is not
          with Section 247 of the German Civil Code (BGB). In the event        16.      The Buyer shall inspect the goods immediately after receipt for                 provided, the Buyer shall be responsible for payment of value
          of payment default, BLEFA shall be entitled to render the                     defects arising during transit, deviations from the agreed                      added tax on the invoice amount due for deliveries within the
          processing of all orders for the Customer conditional upon                    quantity, or delivery of merchandise other than that stipulated,                Federal Republic of Germany.
          advance payment or the provision of a guarantee, to retain                    which it shall report on the delivery note. Any shipment that is
          supplied goods or to take back goods, and where appropriate to                not received either in full or in part shall be reported to us by the   XIII. Anti-corruption
          enter the premises of the Buyer in order to collect the goods.                Buyer promptly after discovery.                                         37.      The Buyer undertakes towards BLEFA to comply with the
          The taking back of goods shall not be construed as withdrawal        17.      In the event that we are responsible for any defective goods or                  applicable legislation under the relevant legal system on the
          from the contract.                                                            services, we shall be entitled, at our option, to rectify the defect             combating of corruption and bribery within business in addition
7.        The foregoing shall be without prejudice to statutory provisions              or to supply a replacement. Defects shall be reported promptly                   to our guidelines as set forth in the BLEFA Code of Conduct.
          applicable to payment default.                                                in writing, and under all circumstances within 5 (five) working
                                                                                        days of their discovery.                                                38.     In the event of resale, the Buyer shall ensure the application of
IV. Reservation of title                                                       18.      If we are unable to rectify a defect, the Customer shall be                     its own guidelines and processes that guarantee compliance
8.     The goods delivered shall remain the property of BLEFA until                     entitled, at its option, to cancel the contract or to claim                     with the aforementioned rules on the combating of corruption
       compliance in full with all claims under the business relationship               abatement (reduction of the purchase price). Minor defects shall                and shall further ensure that third party undertakings that effect
       with the Customer. No pledges or assignments as security by                      not give rise to a right of cancellation. If the right to cancel the            supplies or provide services in relation to the implementation of
       the Customer are permitted and the Customer shall inform                         contract is exercised after our failure to rectify the defect, the              this Contract are subject to a written requirement to comply with
       BLEFA promptly in writing in the event of any third party                        Customer shall be entitled to claim damages for the defect.                     the principles specified. The Buyer shall be responsible for
       intervention with respect to the goods. The Customer shall be           19.      Liability for defects shall be excluded for defects caused by                   compliance with these principles by third party undertakings and
       obliged to treat BLEFA's reserved goods with care, to insure                     unsuitable or improper use, incorrect assembly and/or                           shall bear liability in the event of non-compliance.
       them sufficiently against damage or destruction, to mark them                    commissioning by Buyer or third parties instructed by the Buyer,
       as the property of BLEFA and to store them separately so as to                   natural wear and tear, or incorrect or negligent handling.              39.     Blefa shall be entitled to withdraw from the Contract without
       enable them to be separated at any time. The Customer hereby            20.      The time barring period for claims arising from defects shall be                notice in the event of any breach of the principles set forth
       assigns to BLEFA any claims vested in it against insurers                        twelve months after the transfer of risk. No new warranty                       above. The foregoing shall be without prejudice to damages
       following an occurrence of loss or damage, insofar as they                       periods shall arise for rights and claims relating to defects as a              claims available according to law.
       relate to the property of BLEFA. The Customer shall be entitled                  result of the exchange or repair of individual parts or any item.
       to sell the goods in the ordinary course of business in the event       21.      In the event that the Customer has forwarded the goods on               XIV. Applicable law, place of performance and jurisdiction
       that payment has been made in full to BLEFA or if it has                         account of supposed warranty rights for the purpose of rectifying       40.    The laws of the Federal Republic of Germany shall apply with
       expressly informed the buyer of the goods in writing of the fact                 the defect and it transpires following an examination that there               the exclusion of the UN Convention of contracts for the
       that BLEFA has retained title over the goods in question. The                    was not in fact any defect, the Customer shall reimburse BLEFA                 International Sale of Goods (CISG).
       Customer hereby assigns to BLEFA in full as collateral the                       for the costs of the examination of the goods, including any
       claims relating to the goods that arise out of the resale or on any              shipping and packaging costs arising.                                   41.     The place of performance for all claims arising out of contracts
       other legal basis (insurance, tort, accession to a land). If            22.      Product-related manufacturer guarantees constitute additional                   concluded with BLEFA shall be the registered office of BLEFA.
       insolvency proceedings are brought against the Customer, it                      promises of performance and are subject to the relevant terms                   Exclusive jurisdiction over all disputes arising directly or
       shall not be entitled to sell on or to surrender possession of the               and conditions of the guarantee.                                                indirectly out of or in relation to the business relationship shall
       goods that are still owned by BLEFA until it has settled in full all                                                                                             be at Siegen, Germany. BLEFA shall however be entitled to
       amounts owed by it to BLEFA. In the event of a breach of                IX. General limitation of liability                                                      initiate action before any other competent court.
       contract, including in particular payment default notwithstanding       23.    BLEFA only accepts liability for gross negligence and wilful
       a reminder, if so requested by BLEFA the Customer shall be                     intent or for culpable breaches of essential contractual                  XV. Severability
       obliged to return the goods DDP (Incoterms 2010) to the facility               obligation, without which proper performance of the contract is           42.    In the event that any individual term of the contract concluded
       of BLEFA (including unloading at the risk and cost of the                      absolutely impossible, and on whose performance the Customer                     with the Buyer, including any term of these General Terms and
       Customer).                                                                     may regularly rely ("Cardinal Obligation"). In the event of a                    Conditions of Sale, is or becomes invalid in full or in part, this
9.     In the event that the law of the country in which the goods are                breach of a Cardinal Obligation as a result of minor negligence,                 shall not affect the validity of the remaining provisions. The
       located does not permit the retention of title provided for or only            the liability of BLEFA shall be limited to losses typical for the                wholly or partly invalid term shall be replaced by a term which
       permits it in limited form, BLEFA may secure other rights over                 contract that were foreseeable upon conclusion of the contract;                  comes as close as possible to the economic outcome of the
       the goods. The Customer shall be obliged to cooperate in all                   BLEFA shall bear no liability in the event of a breach of an                     invalid term.
       necessary action (e.g. registration) in order to give effect to the            accessory contractual duty that is not a Cardinal Obligation as a
       retention of title or the rights established in place thereof and in           result of minor negligence. In case of initial impossibility of
       order to protect these rights.                                                 performance, BLEFA is only liable if it was aware of the                  Blefa GmbH, 25.10.2018
                                                                                      impediment to performance, BLEFA was gross negligently
V. Delivery periods, delivery dates, transfer of risk                                 unaware of it or if the impossibility ab initio constitutes a breach
10.     Unless agreed otherwise in writing, delivery periods and delivery             of a Cardinal Obligation. Lost profit, disruptions to operations
        dates shall be non-binding. Information is provided to the best of            and downtime and other indirect losses shall not be
        our knowledge, although without any warranty, and is                          compensated by BLEFA.
        conditional upon timely delivery by suppliers to BLEFA and             24.    The foregoing shall be without prejudice to claims under the
        timely performance by the Customer. The delivery period shall                 German Product Liability Act or claims relating to loss of life,
        be extended by the duration of the period during which the                    personal injury or damage to health.
        Customer fails to comply with its contractual duties. BLEFA shall      25.    Insofar as the liability of BLEFA is limited or excluded in
        be entitled to make partial deliveries and to effect partial                  accordance with the foregoing provisions, this shall also apply to
        supplies.                                                                     the liability of employees, representatives and other auxiliary
11.     The delivery dates confirmed shall be deemed to have been met                 agents.
        upon timely delivery - i.e. upon delivery to the forwarding agent,     26.    Damages claims of the Customer for which liability is limited in
        carrier, or other third party commissioned with the dispatch - or             accordance with this provision are time-barred after one year.
        shipment. They shall also be deemed to have been met at the
        time notice of readiness for shipment is intimated, in the event       X. Intellectual property rights
        that the goods cannot be shipped in good time due to                   27.      All intellectual property rights pertaining to the products or the
        circumstances that are beyond our control. We do not accept                     product documentation are held by and shall remain with
        any obligation in respect of timely transportation. Risk shall pass             BLEFA. Any usage, copying or modification shall require our
        to the Buyer upon the transfer of the goods to the shipping                     approval.
        agent or freight forwarder or upon intimation of the
        aforementioned notice that the goods are ready for shipment. A         XI. Data protection and Processing
        commitment by BLEFA in any individual case to arrange                  28.     Personal data is any information relating to an identified or
        transport or to cover the costs of transportation shall not have               identifiable natural person ('Data Subject') as defined in the
        any impact on the transfer of risk.                                            applicable data protection law.
12.     In the event of force majeure or any other unforeseeable,              29.     Personal data will be gathered, processed and used by BLEFA
        extraordinary circumstances not arising through fault – including              in compliance with the applicable data protection law and all of
        without limitation problems relating to the procurement of                     our employees, BLEFA group companies and third party service
        materials, failure to supply, incorrect supply or late supply to us            providers who have access to personal data are obliged to
        by our suppliers (supplies to us) notwithstanding the conclusion               respect the confidentiality of the personal data.
Case 6:20-bk-04126-KSJ   Doc 127     Filed 09/01/20   Page 30 of 35



                          Exhibit C

                           Invoice
           Case 6:20-bk-04126-KSJ              Doc 127     Filed 09/01/20         Page 31 of 35




                                                                CANCELLATION
                                                                INVOICE NO.: 47068

                                                                Page                  :    1   /5
Blefa GmbH, Hüttenstraße 43, 57223 Kreuztal                     date                  :   06/13/2017
Global Keg                                                      order No.             :   182524
6675 Westwood Boulevard                                         date of order         :   03/31/2017
Orlando, FL 32821                                               cust.ident No.        :   62229/983
UNITED STATES OF AMERICA                                        suppl.ident No.       :   MBLEF00001




order                  :   BKPO0003
your order             :   03/30/2017
your reference         :   Paul Barry
our reference          :   Lutz Enders, lutz.enders@blefa.com, +49 (0) 2732 777 235

Ref: Cancellation our invoice No./dated: 47067 / 06/13/2017


We are invoicing according to our General Terms and Conditions of Sale
available as a download from our homepage
(http://www.blefakegs.com/general-terms-and-conditions)
Any amendments to these terms require permission in writing
from Blefa GmbH.

*
FCA Kreuztal/Germany
acc. to INCOTERMS 2010
*
Forwarding agent:
Lüders & Stange KG
DE Hamburg/Germany
*


# pos      article ident No                        Quantitiy                        unit price         total price
           description                                                                   USD                 USD


1 delivery note No.:        50354 dated/of 06/09/2017    weight gross: 11,700.000 KG / weight net: 9,516.000 KG
  delivery terms            DAP - Delivered at Place

    consig.addr.:
    ABInbev Jupille Activite Industrielle Avenue J. Prevers 4020 Jupille sur Meuse (Liege)

    Sped. red/line, LKW-Nr.GD 749 JW (PL), OP-42-LD (NL)
    Verladen auf 78 Brauerei-Paletten
         Case 6:20-bk-04126-KSJ           Doc 127       Filed 09/01/20      Page 32 of 35




                                                            CANCELLATION
                                                            INVOICE NO.: 47068

                                                            Page                 : 2    /5
                                                            date                 : 06/13/2017

# pos    article ident No                      Quantitiy                       unit price          total price
         description                                                                USD                  USD


   10    100 1626                                1,560 PCS                         67.30           104,988.00
         Keg ø 229 1/6 bbl 1,60/1,20/1,60 nst
         GLOBAL KEG BA9876 -3a
         30 year warranty applies - please see www.kegwarranty.com for details

         Customs Tariff No: 73102990
         Country of origin:
         Federal Republic of Germany

2 delivery note No.:   50363 dated/of 06/12/2017      weight gross: 11,700.000 KG / weight net: 10,062.000 KG
  delivery terms       DAP - Delivered at Place

   consig.addr.:
   ABInbev Jupille Activite Industrielle Avenue J. Prevers 4020 Jupille sur Meuse (Liege)

   Sped. LKW-Walter, LKW-Nr. E-7890KH (BG), HRO-A 9665 (D)
   Verlasden auf 78 Brauerei-Paletten

   10    100 1626                                1,560 PCS                         67.30           104,988.00
         Keg ø 229 1/6 bbl 1,60/1,20/1,60 nst
         GLOBAL KEG BA9876 -3a
         30 year warranty applies - please see www.kegwarranty.com for details

         Customs Tariff No: 73102990
         Country of origin:
         Federal Republic of Germany

3 delivery note No.:   50366 dated/of 06/12/2017      weight gross: 11,700.000 KG / weight net: 10,062.000 KG
  delivery terms       DAP - Delivered at Place

   consig.addr.:
   ABInbev Jupille Activite Industrielle Avenue J. Prevers 4020 Jupille sur Meuse (Liege)

   Sped. LKW-Walter, LKW-Nr. B 789 NFR, B 791 RTF (RO)
   Verladen auf 78 Brauerei-Paletten




                                                                 amount car.over                   209,976.00
         Case 6:20-bk-04126-KSJ           Doc 127       Filed 09/01/20      Page 33 of 35




                                                            CANCELLATION
                                                            INVOICE NO.: 47068

                                                            Page                 : 3    /5
                                                            date                 : 06/13/2017

# pos    article ident No                      Quantitiy                       unit price          total price
         description                                                                USD                  USD

                                                                 amount car.over                   209,976.00


   10    100 1626                                1,560 PCS                         67.30           104,988.00
         Keg ø 229 1/6 bbl 1,60/1,20/1,60 nst
         GLOBAL KEG BA9876 -3a
         30 year warranty applies - please see www.kegwarranty.com for details

         Customs Tariff No: 73102990
         Country of origin:
         Federal Republic of Germany

4 delivery note No.:   50369 dated/of 06/12/2017      weight gross: 11,700.000 KG / weight net: 10,062.000 KG
  delivery terms       DAP - Delivered at Place

   consig.addr.:
   ABInbev Jupille Activite Industrielle Avenue J. Prevers 4020 Jupille sur Meuse (Liege)

   Sped. red line, LKW-Nr. WGM 2W48 (PL) / OP-51-LD (NL)
   verladen auf 78 Brauerei-Paletten

   10    100 1626                                1,560 PCS                         67.30           104,988.00
         Keg ø 229 1/6 bbl 1,60/1,20/1,60 nst
         GLOBAL KEG BA9876 -3a
         30 year warranty applies - please see www.kegwarranty.com for details

         Customs Tariff No: 73102990
         Country of origin:
         Federal Republic of Germany

5 delivery note No.:   50371 dated/of 06/12/2017      weight gross: 11,700.000 KG / weight net: 10,062.000 KG
  delivery terms       DAP - Delivered at Place

   consig.addr.:
   ABInbev Jupille Activite Industrielle Avenue J. Prevers 4020 Jupille sur Meuse (Liege)

   Sped. LKW-Walter - LKW-Nr. BT 6995 KB / BT 0418 EE (BG)
   verladen auf 78 Brauerei-Paletten




                                                                 amount car.over                   419,952.00
           Case 6:20-bk-04126-KSJ          Doc 127        Filed 09/01/20     Page 34 of 35




                                                             CANCELLATION
                                                             INVOICE NO.: 47068

                                                             Page                  : 4    /5
                                                             date                  : 06/13/2017

# pos      article ident No                    Quantitiy                        unit price          total price
           description                                                               USD                  USD

                                                                    amount car.over                419,952.00


   10      100 1626                                1,560 PCS                          67.30        104,988.00
           Keg ø 229 1/6 bbl 1,60/1,20/1,60 nst
           GLOBAL KEG BA9876 -3a
           30 year warranty applies - please see www.kegwarranty.com for details

           Customs Tariff No: 73102990
           Country of origin:
           Federal Republic of Germany

6 delivery note No.:     50379 dated/of 06/13/2017    weight gross: 11,700.000 KG / weight net: 10,062.000 KG
  delivery terms         DAP - Delivered at Place

   consig.addr.:
   ABInbev Jupille Activite Industrielle Avenue J. Prevers 4020 Jupille sur Meuse (Liege)

   Sped. red/line, LKW-Nr.: TT 784GG (SK), OL-68-YP (NL)
   Verladen auf 78 Brauerei-Paletten

   10      100 1626                                1,560 PCS                          67.30        104,988.00
           Keg ø 229 1/6 bbl 1,60/1,20/1,60 nst
           GLOBAL KEG BA9876 -3a
           30 year warranty applies - please see www.kegwarranty.com for details

           Customs Tariff No: 73102990
           Country of origin:
           Federal Republic of Germany

        value of goods                                                                             629,928.00



Tax ID no.: 342 5868 1206
Our VAT ID no.: DE175576751

Tax code                                      net value    VAT %        value add. tax             Gross value
Full VAT                                    629,928.00      99.00          623,628.72             1,253,556.72




                                                                    amount car.over               1,253,556.72
         Case 6:20-bk-04126-KSJ           Doc 127    Filed 09/01/20        Page 35 of 35




                                                           CANCELLATION
                                                           INVOICE NO.: 47068

                                                           Page               : 5    /5
                                                           date               : 06/13/2017

# pos    article ident No                    Quantitiy                       unit price         total price
         description                                                              USD                 USD

                                                               amount car.over                1,253,556.72



                    Blefa GmbH

Transaction between not related parties




                                                         total value USD                     1,253,556.72

due             07/28/2017       net
